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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                           CASE NO. 17-22467-LMI
                                                           Chapter 13


IN Re:
Debtor: Andrea Marino
       Defendants.
 ________________________________________/


                              NOTICE TO WITHDRAW DOCUMENT

       Mediator, Pelayo M. Duran, pursuant to the Federal Rules of Bankruptcy Procedure hereby

serves this Notice to Withdraw Document and states the following:


       Docket Entry 50, is to be withdrawn

                                                     _/s/ Pelayo M. Duran_______________
                                                     Pelayo M. Duran, Mediator
                                                     Negotiated Resolution
                                                     4640 NW 7 Street
Copies to:                                           Miami, Fl. 33126
[all parties to mediation]                           305-266-9780
                                                     pduran@negotiatedresolution.com




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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 13th 2018, a true copy of the foregoing was filed with the

Clerk of Court using the CM/ECF system which will send a notice of electronic filing to all counsel or

parties of record on the Service List.

                                              By ___s/ Pelayo M. Duran ______
                                                PELAYO M. DURAN
                                                Fla. Bar No. 0146595




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